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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

      ANTONIA RODRIGUEZ, ET AL.,                 §
                                                 §
                   Plaintiffs,                   §   CIVIL ACTION NO. 4:22-CV-00506-ALM-
      v.                                         §                 AGD
.                                                §
      U.S. BANK NATIONAL ASSOCIATION,            §
      AS TRUSTEE, ET AL.,                        §
                                                 §
                   Defendants.

               ORDER WITHDRAWING REPORT AND RECOMMENDATION
                      OF UNITED STATES MAGISTRATE JUDGE
            On March 14, 2024, the court entered a Report and Recommendation in the above styled

     and numbered cause (Dkt. #49). The court hereby orders that the above referenced Report and

     Recommendation (Dkt. #49) be withdrawn.

            IT IS SO ORDERED.

           SIGNED this 28th day of March, 2024.




                                        ____________________________________
                                            AILEEN GOLDMAN DURRETT
                                        UNITED STATES MAGISTRATE JUDGE
